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                                       George F. McLaughlin III
                                          44 Angelina Lane
                                        Mansfield, MA 02048



October 7, 2019


                                    Notice of Withdrawal of Claim


To Whom It May Concern;

I wish to withdraw the claim filed against Michael and Meredith Dean (case #19-46230) using the
creditor name “Michael Christopher Dean dba The Platic Merchant”.

I changed the creditor name to my name, but the system apparently make the change. I am filing a new
claim with the correct credit name.

Signed,
George F McLaughlin III
